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                  EXHIBIT A
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Lynn Butler                                                                      111 Congress Avenue
Partner                                                                                     Suite 1400
                                                                                     Austin, TX 78701
                                                                                  Direct: 512.479.9758
                                                                                    Fax: 512.479.1101
                                                                      lynn.butler@huschblackwell.com

                                          March 30, 2022


Via Electronic Mail - ccurtis@pulmanlaw.com

Catherine Curtis, Chapter 7 Trustee
Pulman, Cappuccio & Pullen LLP
P.O. Box 720788
McAllen, TX 78504

         Re:   Agreement for Legal Services

Dear Catherine:

       Thank you for selecting Husch Blackwell LLP to provide legal services. This letter is to
confirm our discussion about the engagement and to set forth the terms under which we will
provide the requested services.

        Client and Scope of Representation. Our client for this engagement will be Catherine
Curtis, Chapter 7 Trustee. It is understood that, in the absence of written agreement to the
contrary, our work in connection with this engagement shall not be considered to create an
attorney-client relationship between us and any other persons or entities related to Catherine
Curtis, Chapter 7 Trustee, including parents, subsidiaries, shareholders, partners, members, or
other affiliates, and thus our sole client for this engagement shall be Catherine Curtis, Chapter 7
Trustee. We will not consider entities affiliated with Catherine Curtis, Chapter 7 Trustee as our
clients for the purpose of checking future conflicts of interest.

       We are being retained to represent you as general counsel in your capacity as the Chapter
7 Trustee in the Scott Van Dyke bankruptcy matter. In the event that we are asked to provide
additional services, we will confirm such engagement in writing. Absent specific modification,
any additional services will be governed by the terms and conditions of this agreement.

        Conflicts. As we have discussed, Husch Blackwell LLP has a number of offices and
represents many clients on a regional or national basis. Some of the clients we represent may be
your competitors, vendors or customers. It is possible that some of our present or future clients
will ask us to represent them in disputes or other matters where their interests are adverse to
Catherine Curtis, Chapter 7 Trustee's during the time we are providing legal services to you. It is
also possible that we will represent, or be asked to represent (in other matters), parties whose
interests are adverse to yours in this or a future matter in which we represent you. Both of these
situations would create a conflict of interest under our ethical rules which would prohibit us from
undertaking the simultaneous representations without the waiver and consent of both clients.


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Therefore, as a condition to our undertaking this engagement, you agree that our firm may
represent existing or new clients whose interests are adverse to yours in all types of matters,
including litigation, that are not substantially related to the matters in which we represent you.
You further agree that we may undertake to represent parties to whom you are adverse in matters
in which we represent you, provided again that we do so only in matters that are not substantially
related to our work for you. You could, of course, choose not to waive these conflicts of interest,
in which case we could decline to undertake this representation of Catherine Curtis, Chapter 7
Trustee. Because the validity and enforceability of these conflict waivers are essential conditions
to the firm's willingness to accept this engagement, and the firm would not accept the
engagement but for these waivers, you agree that, if the validity or enforceability of these
waivers is ever challenged or revoked, we may withdraw from representing you and continue to
represent our other clients, even in matters directly adverse to Catherine Curtis, Chapter 7
Trustee, including litigation.

        Fees and Expenses. We understand that our employment, as well as attorney’s fees and
expenses, are subject to court approval and shall be paid upon court approval and based on funds
available in the bankruptcy estate of Scott Vincent Van Dyke. Our fees are based on the amount
of time we devote to a project. Any estimates of fees that we may give from time to time are
based on our judgment of the circumstances at a given time, and actual fees may be more or less
than the estimated amount. Any estimate of fees or costs we provide thus may not be considered
as a minimum, maximum, or fixed fee quotation.

        I will be the responsible attorney for this engagement but other attorneys and legal
assistants may assist with the engagement. We ask that you agree that we may use such
personnel as is appropriate in our professional judgment. Our hourly rates for attorneys range
from $290 to $955. The firm also employs paralegals and their rates range from $$140 to $350.
Other professionals employed in certain specialty areas have rates that range from $160 to $700.
The current rate for the professional working on this matter is: Lynn Butler, $575. Our hourly
rates are reviewed and adjusted periodically. Adjusted rates will be applicable to any work done
after the effective date of the adjustment.

         In litigation and matters requiring document productions, including third party and
government subpoenas, investigations, and regulatory matters, electronically stored information
is almost always implicated. For these matters, the firm uses the services of its Litigation
Technology Department to meet the demands of electronic discovery and document management
using the latest technological tools. The services provided by the firm’s Litigation Technology
Department require significant expertise. Services may include coordination and consultation on
discovery materials, development and hosting of document review databases, and preparation
and presentation of electronic evidentiary materials at trial. Pricing for this work is set forth in
the attached schedule. Additionally, it is the firm’s policy to bill for providing responses to audit
letter requests. Should this type of work materialize, we charge a flat rate of $250 to $2,000
based on the complexity of the request and the time and resources expended by the members of
the audit letter team. The flat fee covers all of the work of our centralized audit letter team to
prepare the audit letter response. The flat fee does not include the time the attorneys handling
your matter(s) spend preparing descriptions of actual or potential loss contingencies, which may
be billed separately.


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        We will bill on a monthly basis for our professional fees and for reimbursement of
expenses incurred in connection with this engagement. We understand that our fees and
expenses are subject to bankruptcy court approval and shall not be paid unless approved by the
court and subject to available funds in the bankruptcy estate of Scott Vincent Van Dyke. . A
schedule of our charges for various services and incidental items is attached. We will generally
not pay the fees and expenses of other service providers, such as consultants, local counsel,
deposition reporters, experts, and the like, but will forward those bills directly to you for
payment.

      Payment of fees and expenses incurred is subject to application under Section 330 of the
Bankruptcy Code and Bankruptcy Court approval, and the availability of funds in the
Bankruptcy Estate.


        Communications. We understand that we are to report to and take direction from
Catherine Curtis, Chapter 7 Trustee for this engagement. If you should prefer that we report to
some other person, please let us know. We understand that you have approved the use of
internet e-mail for communications concerning this matter. Our state ethics rules suggest that we
remind you that the internet does not provide a totally secure method of communication, and e-
mail may be copied and held by any computer through which it passes. Persons not participating
in the communication may intercept e-mails, and e-mails stored on computers may be accessed
by unauthorized parties. If you would prefer that we not communicate with you via e-mail,
please advise me immediately.

        Marketing Materials. Periodically, our firm prepares marketing materials in which we
include the names and corporate logos of selected clients and sometimes a brief description of a
significant project on which we worked. You agree that we may do so with regard to you and
any matters we handle for you at this time or in the future. If we include our representation of
you in these materials, we will not include information about any specific transaction that is not
otherwise publicly available without your prior approval.

         Document Retention. Some materials related to our representation of you (e.g.
administrative records, time and expense reports, personnel materials, and credit and accounting
records) belong to us and will be handled in accordance with our document retention policy.
Other materials (i.e. documents provided to us by you and the final version of documents that
you retain us to create) are considered client files and belong to you. We will retain your client
file for ten years or such longer period as required by statute or our firm's document retention
policy. At your request, we will return your file to you or any other person designated by you.
If, at your request, we retain your client files beyond their normal period of retention, such long-
term storage will be at your cost. If you have not requested that we return your file or made
arrangements for long-term storage, we may destroy or otherwise dispose of your client files
after the retention period.

        Our Professional Responsibility. The code of professional responsibility to which we
are subject lists several types of conduct or circumstances that require or allow us to withdraw
from representing a client. These include, for example, nonpayment of fees or charges,


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misrepresentation or failure to disclose material facts, action contrary to our advice, and conflict
of interest with another client.

       We try to identify in advance and discuss with our clients any situation that may lead to
our withdrawal. If withdrawal ever becomes necessary, we give our clients written notice as
soon as practicable.

        Under rules of the Texas Supreme Court and the State Bar of Texas, we advise our clients
of the contents of the Texas Lawyer’s Creed, a copy of which is enclosed. In addition, we advise
clients that the State Bar of Texas investigates and prosecutes complaints of professional
misconduct against attorneys licensed in Texas. A brochure entitled Attorney Complaint
Information is available at all of our offices and is likewise available upon request. A client that
has any questions about the State Bar’s disciplinary process should call the Office of the General
Counsel of the State Bar of Texas at 1-800-932-1900 (toll free).

        Limited Liability Partnership. Husch Blackwell LLP is organized as a limited liability
partnership. This means every attorney in our firm who either directly performs or supervises
legal services for you will have full professional responsibility and legal liability for those
services, in addition to the firm itself. However, individual attorneys in the firm who have no
direct involvement or supervisory role in your representation will not have any personal liability
for the legal services performed by others in the firm.

       Conclusion of Representation. Our relationship with you will be concluded when we
have completed our agreed-upon services. In addition, and without limiting the preceding
sentence, in the event we have performed no work for you or on your behalf for six consecutive
months, you agree that our attorney-client relationship with you will be terminated.

        It is understood that the terms of this letter and its enclosures constitute the terms under
which we will undertake this representation. If you find the proposed engagement terms
acceptable, please execute and return a copy of this letter for our file. If you do not agree to any
of the terms of this letter and its enclosures, please call me as soon as possible within the next ten
days to discuss. If I do not hear from you, it is understood that these are the terms of our
representation.

         Thank you again for selecting us for this engagement. We look forward to working with
you.




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                                        Very truly yours,

                                        HUSCH BLACKWELL LLP


                                        By:
                                              Lynn Butler
                                              Partner
cd
HB EGL v2022.03.01



Attachment


AGREED:

CATHERINE CURTIS, CHAPTER 7 TRUSTEE



Dated:




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                   THE TEXAS LAWYER'S CREED -- A Mandate for Professionalism

         The Texas Supreme Court and the Texas Court of Criminal Appeals adopted this
         Creed, with the requirement that lawyers advise their clients of its contents when
         undertaking representation.

 I am a lawyer; I am entrusted by the People            and independent advice. I will advise my
 of Texas to preserve and improve our legal             client that civility and courtesy are expected
 system. I am licensed by the Supreme Court             and are not a sign of weakness. I will advise
 of Texas. I must therefore abide by the                my client of proper and expected behavior. I
 Texas Disciplinary Rules of Professional               will treat adverse parties and witnesses with
 Conduct, but I know that Professionalism               fairness and due consideration. A client has
 requires more than merely avoiding the                 no right to demand that I abuse anyone or
 violation of laws and rules. I am committed to         indulge in any offensive conduct. I will advise
 this Creed for no other reason that it is right.       my client that we will not pursue conduct
                                                        which is intended primarily to harass or drain
 I.        OUR LEGAL SYSTEM. A lawyer                   the financial resources of the opposing party.
 owes to the administration of justice personal         I will advise my client that we will not pursue
 dignity, integrity, and independence. A                tactics which are intended primarily for delay.
 lawyer should always adhere to the highest             I will advise my client that we will not pursue
 principles     of   professionalism.     I  am         any course of action which is without merit. I
 passionately proud of my profession.                   will advise my client that I reserve the right to
 Therefore, "My word is my bond." I am                  determine whether to grant accommodations
 responsible to assure that all persons have            to opposing counsel in all matters that do not
 access      to    competent      representation        adversely affect my client's lawful objectives.
 regardless of wealth or position in life. I            A client has no right to instruct me to refuse
 commit myself to an adequate and effective             reasonable requests made by other counsel.
 pro bono program. I am obligated to educate            I will advise my client regarding the
 my clients, the public, and other lawyers              availability of mediation, arbitration, and
 regarding the spirit and letter of this Creed. I       other alternative methods of resolving and
 will always be conscious of my duty to the             settling disputes.
 judicial system.
                                                        III.      LAWYER TO LAWYER. A lawyer
 II.      LAWYER TO CLIENT. A lawyer                    owes to opposing counsel, in the conduct of
 owes to a client allegiance, learning, skill,          legal transactions and the pursuit of
 and industry. A lawyer shall employ all                litigation, courtesy, candor, cooperation, and
 appropriate means to protect and advance               scrupulous observance of all agreements
 the client's legitimate rights, claims, and            and mutual understandings. Ill feelings
 objectives. A lawyer shall not be deterred by          between clients shall not influence a lawyer's
 any real or imagined fear of judicial disfavor         conduct, attitude, or demeanor toward
 or public unpopularity, nor be influenced by           opposing counsel. A lawyer shall not engage
 mere self-interest. I will advise my client of         in unprofessional conduct in retaliation
 the contents of this Creed when undertaking            against other unprofessional conduct. I will
 representation. I will endeavor to achieve my          be courteous, civil, and prompt in oral and
 client's lawful objectives in legal transactions       written communications. I will not quarrel
 and in litigation as quickly and economically          over matters of form or style, but I will
 as possible. I will be loyal and committed to          concentrate on matters of substance. I will
 my client's lawful objectives, but I will not          identify for other counsel or parties all
 permit that loyalty and commitment to                  changes I have made in documents
 interfere with my duty to provide objective            submitted for review. I will attempt to prepare



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 documents which correctly reflect the              effort has been made to schedule it by
 agreement of the parties. I will not include       agreement. I will readily stipulate to
 provisions which have not been agreed upon         undisputed facts in order to avoid needless
 or omit provisions which are necessary to          costs or inconvenience for any party. I will
 reflect the agreement of the parties. I will       refrain from excessive and abusive
 notify opposing counsel, and, if appropriate,      discovery. I will comply with all reasonable
 the Court or other persons, as soon as             discovery requests. I will not resist discovery
 practicable, when hearings, depositions,           requests which are not objectionable. I will
 meetings, conferences or closings are              not make objections nor give instructions to
 canceled. I will agree to reasonable requests      a witness for the purpose of delaying or
 for extensions of time and for waiver of           obstructing the discovery process. I will
 procedural formalities, provided legitimate        encourage witnesses to respond to all
 objectives of my client will not be adversely      deposition questions which are reasonably
 affected. I will not serve motions or pleadings    understandable. I will neither encourage nor
 in any manner that unfairly limits another         permit my witness to quibble about words
 party's opportunity to respond. I will attempt     where their meaning is reasonably clear. I
 to resolve by agreement my objections to           will not seek Court intervention to obtain
 matters contained in pleadings and                 discovery which is clearly improper and not
 discovery requests and responses. I can            discoverable. I will not seek sanctions or
 disagree without being disagreeable. I             disqualification unless it is necessary for
 recognize that effective representation does       protection of my client's lawful objectives or
 not require antagonistic or obnoxious              is fully justified by the circumstances.
 behavior. I will neither encourage nor
 knowingly permit my client or anyone under         IV.     LAWYER AND JUDGE. Lawyers and
 my control to do anything which would be           judges owe each other respect, diligence,
 unethical or improper if done by me. I will        candor, punctuality, and protection against
 not, without good cause, attribute bad             unjust and improper criticism and attack.
 motives or unethical conduct to opposing           Lawyers and judges are equally responsible
 counsel nor bring the profession into              to protect the dignity and independence of
 disrepute by unfounded accusations of              the Court and the profession. I will always
 impropriety. I will avoid disparaging personal     recognize that the position of judge is the
 remarks or acrimony towards opposing               symbol of both the judicial system and
 counsel, parties and witnesses. I will not be      administration of justice. I will refrain from
 influenced by any ill feeling between clients. I   conduct that degrades this symbol. I will
 will abstain from any allusion to personal         conduct myself in court in a professional
 peculiarities or idiosyncrasies of opposing        manner and demonstrate my respect for the
 counsel. I will not take advantage, by             Court and the law. I will treat counsel,
 causing any default or dismissal to be             opposing parties, the Court, and members of
 rendered, when I know the identity of an           the Court staff with courtesy and civility. I will
 opposing counsel, without first inquiring          be punctual. I will not engage in any conduct
 about that counsel's intention to proceed. I       which offends the dignity and decorum of
 will promptly submit orders to the Court. I will   proceedings.      I    will  not    knowingly
 deliver copies to opposing counsel before or       misrepresent, mischaracterize, misquote or
 contemporaneously with submission to the           miscite facts or authorities to gain an
 court. I will promptly approve the form of         advantage. I will respect the rulings of the
 orders which accurately reflect the                Court. I will give the issues in, controversy
 substance of the rulings of the Court. I will      deliberate, impartial and studied analysis
 not attempt to gain an unfair advantage by         and consideration. I will be considerate of
 sending the Court or its staff correspondence      the time constraints and pressures imposed
 or copies of correspondence. I will not            upon the Court, Court staff and counsel in
 arbitrarily schedule a deposition, Court           efforts to administer justice and resolve
 appearance, or hearing until a good faith          disputes.


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                       SCHEDULE OF CHARGES FOR INCIDENTAL SERVICES
                                      Effective 1/1/2022
       This schedule identifies charges that will be added to our invoices for incidental services
we provide and costs we incur in connection with our legal services. If we have reached a
separate written agreement with you concerning any of these charges, the terms of that separate
agreement will prevail over any conflicting provisions of this schedule.
Document Processing Services
 Paper (Black and White)                                       $0.15 per page
 Paper (Color)                                                 $0.30 per page
 Survey/Plotter                                                $6.00 per page

Computer Legal Research Costs                                  Charged at up to 95% of the
 Online research may be charged at up to 95% of the            vendor’s transactional/retail rates
 vendor’s transactional/retail rates, when applicable
Postage, Couriers and Delivery Services                        Billed at actual costs
 Large mailings, certified or express delivery services are
 billed to client at actual costs
Internal Messengers Services                                   $60 per hour, in 6 minute increments
  In-House Messengers charges are billed at $60 per hour, in
  6 minute increments
Paper file storage following conclusion of engagement          $0.17 per bankers box per month
 Client material is boxed and stored at a secured offsite
 location
Media Services-
 Flash Drive 8 Gigabyte:                                       $10 per Drive
 Flash Drive 32 Gigabyte:                                      $15 per Drive
 Flash Drive 64 Gigabyte                                       $20 per Drive
 Flash Drive 128 Gigabyte                                      $30 per Drive
 Flash Drive 256 Gigabyte                                      $50 per Drive
 External Hard Drive 1 Terabyte                                $75 per Drive
 External Hard Drive 2 Terabyte                                $95 per Drive
Audit Letters                                                  $250 - $2,000




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                                  SCHEDULE OF CHARGES
                                              FOR
                            LITIGATION TECHNOLOGY SERVICES
                                    Effective March 1, 2022

                               (Rates subject to periodic adjustment.
                       Adjusted rates apply to services provided subsequently.)

This schedule identifies charges that will be incurred and appear on your invoice when Litigation
Technology is engaged to provide services on your matter.

Litigation Technology charges for its services via a monthly fee.

Monthly Fee
   0 to 5 GB                                        $550.00 per month
   5.01 to 10 GB                                    $950.00 per month
      For each additional GB
      10.01 to 100 GB                               $45.00 per GB\Month
      100.01 to 200 GB                              $20.00 per GB\Month
      200.01 and up                                 $10.00 per GB\Month

SERVICES INCLUDED IN MONTHLY FEE
The above listed pricing includes all of the following services when electronic data is processed
for inclusion into a Relativity database (our document review and production software):

         Up to 100 compressed GB of data processing using Nuix early case assessment software
         Loading of data and updates to Relativity document review database
         Hosting of internal Relativity document review database
         Electronic document productions
         OCR processing
         Electronic bates numbering
         Format conversions
         Media services
         Hourly time by Litigation Technology professionals

HOW THE MONTHLY FEE IS CALCULATED
Monthly fee pricing is based on a flat rate of $550.00 per month for matters under 5 GB and at
the rate of $950.00 per month for matters between 5.01 and 10 GB.

For matters over 10 GB, pricing is based on a graduated scale.

For example: A matter with 12 GB would be billed at a rate of $950.00 for the first 10 GB of
data and then $45.00 per GB for the additional 2 GB, for a total of $1,040.00 per month. The
monthly fee will be billed on the last business day of each month that the database resided in the
HB Relativity system at any time during the month. Fees are billed on a monthly basis and are
not prorated.


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SERVICES NOT INCLUDED IN MONTHLY FEE
Fees not included in the monthly fee pricing are as follows. Please note that these services are
not necessarily required in every matter:

Electronic discovery data processing using Nuix early case assessment software for data sizes
over 100 compressed GB or data processing for early case assessment as an ad hoc service (i.e.,
processing/early case assessment not intended for a Relativity database):

         $100.00 per compressed GB (minimum charge $100.00)
         Relativity outside user access: $83.00 per user per month
         Collection of source data: Hourly rates will apply.

GLOSSARY OF TERMS

Electronic discovery data processing and/or Early Case Assessment in Nuix: ECA
       processing is a necessary step to cull data prior to loading into Relativity for document
       review. Deduplication and search terms can be applied. Documents can be tagged for
       import into Relativity. This includes setup, processing time and quality control.

Relativity outside user access: For any non-HB personnel needing access to a Relativity
       database.

Loading and update to document review database: This includes standard manipulation of
      load files including modifying directory paths within the load file. It includes copy time
      to the network, any definition of fields in the database, the actual load into the database
      and quality control.

Electronic Document Productions: An electronic document production is the electronic version
       of producing documents in paper format. This includes setup time in the database, bates
       numbering, computer processing time, accompanying load files and quality control.

OCR Processing: Optical character recognition is the text extraction or rendering of a document
     image to text format. OCR allows for scanned documents or image based electronic
     documents to be searched through common review databases. This includes setup,
     processing time and quality control.

Electronic Bates Numbering: Electronic bates labeling is the electronic marking of bates
       numbers, prefix, and other designations on various electronic file types. This fee includes
       setup, computer processing time and quality control.

Format Conversion (Example TIF to PDF): This includes setup, processing time and quality
     control.

Media Services:
      CD/DVD creation\duplication
      Flash Drive 8 Gigabyte
      Flash Drive 32 Gigabyte


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         Flash Drive 64 Gigabyte
         Flash Drive 128 Gigabyte
         External Hard Drive 1 Terabyte

CIRCUMSTANCES REQUIRING OUTSOURCING
Occasionally, we may outsource our services based on deadlines and resources available. The
actual vendor costs for outsourced services will be passed directly to you, with no cost increase
or markup.

Additionally, when providing eDiscovery expertise and Litigation Technology services on your
matter, the firm’s eDiscovery team (Husch Blackwell eDiscovery Solutions “HBES”) may
engage its preferred vendor at its discretion to assist with Relativity Analytics consulting, if
needed to benefit your case. The cost associated with this work will be included on your invoice
from Husch Blackwell. HBES may also engage a combination of in-house, as well as outsourced
document review attorneys from its preferred vendor, at its discretion on your matter, based on
what best serves the needs of the case and budget. The costs associated with outsourced
document review will be included on your invoice from Husch Blackwell.




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